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                                                         December 23, 2020
BY ECF                        Memo Endorsed: The bail modification application is
Honorable Paul G. Gardephe granted.
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007
                                         Dated: December 29, 2020
Re:   United States v. Byron Roberts, 20 Cr. 344 (PGG)

Honorable Judge Gardephe:

       I write, jointly with the Government, to request a 30-day adjournment of the
conference scheduled for Tuesday, January 5, 2021 in the above-captioned case. The
parties are currently in the midst of plea negotiations with the goal of resolving this
case pretrial and would benefit from an additional month. The parties consent to the
exclusion of time under the Speedy Trial Act through the next conference date
scheduled by the Court.

       I also write, at the suggestion of Pretrial Services and without objection from
the Government, to request that Mr. Roberts’s conditions of release be modified to
remove the requirements of a curfew and location monitoring. Mr. Roberts has been
on pretrial release since March 17, 2020, four days after his arrest. He was initially
released with the condition of home detention, enforced by GPS monitoring. On July
29, 2020, at the suggestion of Pretrial and without objection from the Government,
the Court granted Mr. Roberts’s request to modify the condition of home detention to
a curfew. Since his release in March, Mr. Roberts has had no issues on supervision,
and location monitoring is an unnecessary condition of his continued release. As
noted, Pretrial suggested this modification, and the Government does not object to it.

      Thank you for your consideration of these requests.

                                        Respectfully submitted,

                                        /s/ Ariel Werner
                                        Ariel Werner
                                        Assistant Federal Defender
                                        (212) 417-8770

CC:   AUSA Emily Johnson
      U.S. Pretrial Services Officer Joshua Rothman
